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PROB 35 (ED/CA)
                        Report and Order Terminating Supervised Release
                                Prior to Original Expiration Date


                             UNITED STATES DISTRICT COURT
                                                FOR THE


                          EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                       )
                                                     )
                        v.                           )       Docket No: 0972 1:05CR00204-006
                                                     )
              HUMBERTO LLERENA                       )
                                                     )



On September 5, 2006, the above-named was placed on Supervised Release for a period of 48
months.

The supervisee has complied with the rules and regulations of Supervised Release and is no longer
in need of supervision. It is accordingly recommended that the supervisee be discharged from
supervision.

                                         Respectfully submitted,

                                            /s/ Julie A. Fowler

                                          JULIE A. FOWLER
                                     United States Probation Officer

Dated:       December 9, 2013
             Roseville, California
             JAF:aph



                             /s/ Michael A. Sipe
REVIEWED BY:                 MICHAEL A. SIPE
                             Supervising United States Probation Officer


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                                                                       EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)


Re:      LLERENA, Humberto
         Docket No: 0972 1:05CR00204-006
         Report and Order Terminating Supervised Release
         Prior to Original Expiration Date




                                    ORDER OF COURT

Pursuant to the above report, it is ordered that Humberto Llerena be discharged from Supervised
Release, and that the proceedings in the case be terminated.



IT IS SO ORDERED.

Dated:      December 9, 2013
                                              SENIOR DISTRICT JUDGE




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                                                                                             Rev. 05/2013
                                                                EARLY TERMINATION ~ ORDER (PROB35).DOTX
